FILED
CHARLOTTE, NC

APR 4 2022

US DISTRICT COURT
WESTERN DISTRICT OF NC

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
STATESVILLE DIVISION

DOCKET NO, 5:21-CR-00043

UNITED STATES OF AMERICA )
) CONSENT ORDER AND
Vv. ) JUDGMENT OF FORFEITURE
)
MICHAEL DALE BONDS )

WHEREAS, the defendant, Michael Dale Bonds, has entered into a plea agreement
(incorporated by reference herein) with the United States and has voluntarily pleaded guilty
pursuant to Fed. R. Crim. P. 11 to one or more criminal offenses under which forfeiture may be

ordered;

WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant’s
offense(s) herein; property involved in the offenses, or any property traceable to such property;
and/or property used in any manner to facilitate the commission of such offense(s); or substitute
property as defined by 21 U.S.C. § 853(p) and Fed. R. Crim. P. 32.2(e); and is therefore subject to
forfeiture pursuant to 18 U.S.C. § 2253, provided, however, that such forfeiture is subject to any
and all third party claims and interests, pending final adjudication herein; the defendant waives his
interest, if any, in the property and agrees to the forfeiture of such interest;

WHEREAS, the defendant herein waives the requirements of Fed. R. Crim. P. 32.2
regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment against defendant;

WHEREAS, pursuant to Fed. R. Crim. P. 32.2(b)(1) & (c)(2), the Court finds that there is
the requisite nexus between the property and the offense(s) to which the defendant has pleaded
guilty and that the defendant has a legal or possessory interest in the property;

WHEREAS, the defendant withdraws any claim previously submitted in response to an
administrative forfeiture or civil forfeiture proceeding concerning any of the property described
below. If the defendant has not previously submitted such a claim, the defendant hereby waives
all right to do so. If any administrative forfeiture or civil forfeiture proceeding concerning any of
the property described below has previously been stayed, the defendant hereby consents to a lifting
of the stay and consents to forfeiture;

 

 
WHEREAS, the undersigned United States Magistrate Judge is authorized to enter this
Order by the previous Order of this Court No. 3:05MC302-C (September 8, 2005);

NOW, THEREFORE, IT IS HEREBY ORDERED THAT the following property is
forfeited to the United States:

e ASUS US6E laptop computer, SN: CIN0AS456168048

The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21 U.S.C. § 853(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice of this
forfeiture.

Any person, other than the defendant, asserting any legal interest in the property may,
within thirty days of the publication of notice or the receipt of notice, whichever is earlier, petition
the court for a hearing to adjudicate the validity of the alleged interest.

Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this Order of Forfeiture, the United
States Attorney’s Office is authorized to conduct any discovery needed to identify, locate or
dispose of the property, including depositions, interrogatories, requests for production of
documents and to issue subpoenas, pursuant to Fed. R. Civ. P. 45.

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Following the Court's disposition of all timely petitions filed, a final order of forfeiture
shall be entered, as provided by Fed. R. Crim. P. 32.2(c)(2). If no third party files a timely petition,
this order shall become the final order and judgment of forfeiture, as provided by Fed. R. Crim. P.
32,2(c)(2), and the United States shall have clear title to the property and shall dispose of the
property according to law. Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), the defendant consents that
this order shall be final as to defendant upon filing.

SO AGREED:
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BENJAMIN BAIN-CREED
Assistant United States Attorney

Mickaol Cab, Boas
MICHAEL DALE BONDS

 

Defendant
RYAN AMES
Attomey for Defendant

Signed: Apri\ “4 , 2022

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DA C.K
United States Magistrate Judge
Western District of North Carolina

 
